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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SERGEY LEONTIEV,

                            Plaintiff,

         -against-
                                                                          No. 16-cv-03595 (JSR)
ALEXANDER VARSHA VSKY,

                            Defendant.


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                   DECLARATION OF MARSHALL R. KING IN SUPPORT
              OF PLAINTIFF'S MOTION FOR JUDGMENT ON THE PLEADINGS
                     AS TO PLAINTIFF'S FIRST CAUSE OF ACTION

         I, MARSHALL R. KING, an attorney duly admitted to practice before the Courts of the

State of New York, declare under penalty of perjury as follows:

         1.       I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, and am counsel

of record for Plaintiff Sergey Leontiev. As such, I am fully familiar with the facts set forth in

this Declaration.

        2.        I respectfully submit this Declaration in support of Plaintiffs motion for a

judgment on the pleadings as to Plaintiffs first cause of action.

        3.       True and correct copies of the promissory notes identified in Appendix A to the

Complaint, and certified English translations thereof, are attached hereto as Exhibit A.

        4.       True and correct copies of the loan agreements identified in Appendix B to the

Complaint are attached hereto as Exhibit B.

        5.       True and correct copies of the guarantees identified in Appendix C to the

Complaint, and certified English translations thereof, are attached hereto as Exhibit C.



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        6.       A true and correct copy of the transcript of the June 17, 2016 initial conference in

the above-captioned matter is attached hereto as Exhibit D.

        7.       A true and correct copy of the Notice of Liquidation filed in the State Registration

Bulletin by ZAO Financial Group "Life" on April 1, 2015, and a certified English translation

thereof, is attached hereto as Exhibit E.

        8.       A true and correct copy of the corporate registration records of ZAO Financial

Group "Life" as available on Russia's United State Registry of Legal Entities (EGRUL) at

https://egrul.nalog.ru, dated June 28, 2016, and a certified English translation thereof, is attached

hereto as Exhibit F. Page 1 of the document shows that Financial Group "Life" was wound

down on August 5, 2015.

        9.       A true and correct copy of the corporate registration records for Ambika

Investments Limited ("Ambika") as available with the Department of the Registrar of Companies

and Official Receiver of the Republic of Cyprus, dated August 2, 2016, is attached hereto as Exhibit G.

The document shows that Ambika was established on July 4, 2006.

        10.      A true and correct copy of the corporate registration records for Vennop Trading

Limited ("Vennop") as available with the Department of the Registrar of Companies and Official

Receiver of the Republic of Cyprus, dated August 2, 2016, is attached hereto as Exhibit H. The document

shows that Vennop was established on January 10, 2013.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

August 3, 2016.




                                                         Marshall R. King




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